                      Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 1 of 48



                                                    FREEDOM OF INFORMATION ACT REQUEST



                TO:            BUREAU OF ALCOHOL, TOBACCO, FIRE.ARMS AND EXPLOSIVES
                               DISCLOSURE DIVISION
                               STEPHANIE BOUCHER, DIVISION CHIEF
                               99 NEW YORK AVENUE, NE
                               ROOM1E400                                                            NOV 1 3 2015
                               WASHINGTON, DC, 20226


                FROM:     ::ferl\'\~',\le ~\\ it 3~o"'!>\. 037                                    --.....   -   .....
                      tC..I Sc.~"'l \ K: \l
                      -~o.&~7S9
                      "'; N~u : t\e 1 .P+..          \7 q5 't
                SUBJECT:       FREEDOM OF INFORMATION ACT AND PRNACY ACT REQUEST



                DATE:



                                                                IN FORMA PAUPERIS

                Pursuant to the Freedom of Information Act (FOL'\) and Privacy Act, I submit to you this
                FOIA letter.

                We are in pursuit of Evidence regarding:
                - November 26, 2001 Homicide of Torrence Johnson in Baltimore, MD
                - June 26, 2001 Homicide of Angelo Stringfellow in Baltimore, MD
                - May 28, 2001 Homicide of Kenyatta Harris in Baltimore, MD
                - pertaining to 1998 investigation relating to Kenyatta Harris stemming from a
                homicide of Damien Barralle
                - pertaining to 302 reports relating to task force that involved any I all Baltimore City
                Police Officers

                My request is not limited to the following items:
                       - copy of .ATF case jacket(s) including any records from the U.S. Attorney's Office
                      and the records of the federal courts relating to the information provided above. Any
                       record of value within the prosecutive and judicial aftermath of the Division's
                      investigation, to include but not limited to unreleased A TF records and grand jury
                      material
                       - Arrest records
                       - Bureau of Alcohol, Tobacco, Firearms and Explosives reports
                      - Executive Office of the US Attorneys reports
                       - Copies of investigator's notes and reports
                      - Crime Scene Examination Section Reports
                      - Any/ all physical recordings, transcripts and notes relating to undercover wire, oral
                      or electronic communication or surveillance obtained by the use of a witness and/ or
                      informant :erovided by Baltimore City Police Department or DOJ
                                t. 4.   ,   '   ~                  I




.
--.   ......,
                                                                       Exhibit A
     Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 2 of 48


        - Any/ all evidence of Body worn camera (BWC) or recordings by a witness and/ or
        informant provided by Baltimore City Police Department or DOJ
        - Forensic reports
        - Copies of diagrams prepared by investigators
        - Any documented statements taken of investigators
        - Copies of statements provided by witnesses (written and audio)
        - Any reports showing that the ballistics evidence in this case has been linked to any
        other shootings
        - Any supplemental reports prepared during the investigation of this offense
        - Any documented information that the witness(es) was under the influence at the
        time of this incident
        - Any cooperation agreements involving any witnesses and/ or informants
        - Any record of monetary and/ or other gifts provided to any witnesses and/ or
        informants
        - Notes from any interviews and/ or meetings involving any witnesses and/ or
        informants
        - Copies of photographs taken by officers/investigators
        - Copy of photo array used with the witness(es) to identify the shooter
        - Any supplemental reports prepared during the investigation of this offense

Additionally, I would like to make a request for a foe waiver or possible reduction in costs
for processing this request on the basis of my client's indigence. My client is indigent due to
his incarceration and is therefore unable to pay for these expenses himself.

I thank you for your time and consideration of this matter, and will await a response from
your office.




                                               2

                                           Exhibit A
                                            Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 3 of 48


--'.:<.~           'U"' ,,_.   I •   '2>~ l) ~\ • 't:,::,1              HARRISBURG PA 171

Fe~~l Correctional Institution Schuylkill                                    03 N01..i1 2015 PM 1. l
P.Of£ox 759
Miner:-.ville, PA 17954-0759
                                                                                                                          k-RA~                                              '-


Mailed from                                                      1E -- yoo                                              Nov on
Federal Correctional Institution                                                                                                       2015
Schuylkill, PA
                                                                                                                                     ~Al
                                                                                                                                                                      ~
                                                                                                                                                   ~            ~     (._)
                                                                                                                                                                      a:
                                                                                                                                                       ~
                                                                                                                                                       UJ
                                                                                                                                                                ~
                                                                                                                                                                ~

                                                                                                                                                                ~a
                                                                                                                                                                      _.
                                                                                                                                                       f ..
                                                                                                                                                       ~ \ J,   -· :a
                                                                                                                                                                z..u..
                                                                                                                                                        :.J:
                                                                                                                                                                        ~
                                                             :2Ci225          ·I''' 1' 111•II'II1••1h•1' 1'   'Ii''1•h'I1' •1'··11•1II1·''1I11111111




                                                                         Exhibit A
        Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 4 of 48




                                                 U.S. Department of Justice

                                                 Bureau of Alcohol, Tobacco,
                                                 Firearms and Explosives




                                                 Washington, DC 20220

                                                 www.atf.gov


December 3, 2015                                                        REFER TO: 2016-0095

Mr. Jermaine Bell
Reg. No. 33031-037
PO Box 759
FCI Schuylkill
Minersville, PA 17954-0759

Dear Mr. Bell:

This responds to your Freedom of Information Act request dated November 2, 2015 and received
in this Office on November 13, 2015, in which you requested records concerning third-parties.
Your request has been assigned number 2016-0095. Please refer to this number on any future
correspondence.

You requested information relating to third-parties. With respect to the named individuals, it is
the policy of the ATF to neither confirm nor deny that records exist. Without consent, proof of
death, an official acknowledgment of an investigation of them or an overriding public interest,
even to acknowledge the existence of such records pertaining to these individuals would be in
violation of the Privacy Act, 5 U.S.C. § 552a and constitute a clearly unwarranted invasion of
personal privacy and could reasonably be expected to constitute an unwarranted invasion of their
personal privacy. Accordingly, I am refusing to confirm or deny the existence of responsive
records pursuant to Exemptions 6 and 7(C) of the FOIA, 5 U.S.C. § 552(b)(6), (7)(C).

When the individual is 100 years or older, ATF assumes that the individual is deceased. Based
on the information you provided, the individual is not 100 years old or older. Therefore, proof of
death is required in order to search for responsive documents should such documents exist.
Acceptable proof of death documents include:

       1. a death certificate; or
       2. an obituary with sufficient identifying information; or
       3. a newspaper article with sufficient identifying information; or
       4. a statement of death by the funeral director; or
       5. a statement of death by the attending physician or the superintendent, physician, or
          intern of the institution where the person died; or
       6. a certified copy of the coroner’s report of death or the verdict of the coroner’s jury; or



                                             Exhibit B
        Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 5 of 48



                                                    -2-

Mr. Jermaine Bell


       7. a certified copy of an official report of death or finding of death made by an agency
          or department of the U.S. which is authorized or required to make such a report or
          finding in the administration of any law of the U.S.

Since you have not provided any documentation that would demonstrate your right to access the
records of a third party, we cannot disclose any information should such information exist. If
you can provide proof of death, ATF may be able to release responsive documents should they
exist. Please return it, along with your request, to the Disclosure Division. You may mail your
documents to 99 New York Avenue, NE, Room 4E-301, Washington, DC 20226. You may also
fax your documents to (202) 648-9619. Additionally, you may send any documentation to
foiamail@atf.gov. Please include the assigned case number in your email. If you have any
questions or would like to discuss any aspect of your request, you may contact our FOIA Public
Liaison, Stephanie Boucher, at (202) 648-8740.

In light of these circumstances, I am administratively closing your request in this Office.

If you are not satisfied with my response to your request, you may administratively appeal by
writing to the Director, Office of Information Policy, United States Department of Justice, Suite
11050, 1425 New York Avenue, NW, Washington, DC 20530-0001, or you may submit an
appeal through OIP's eFOIA portal at http://www.justice.gov/oip/efoia-portal.html. Your appeal
must be postmarked or transmitted electronically within sixty days from the date of this letter. If
you submit your appeal by mail, both the letter and the envelope should be clearly marked
“Freedom of Information Act Appeal.”

                                            Sincerely,



                                     Stephanie M. Boucher
                                    Chief, Disclosure Division




                                             Exhibit B
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 6 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 7 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 8 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 9 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 10 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 11 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 12 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 13 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 14 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 15 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 16 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 17 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 18 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 19 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 20 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 21 of 48




                            Exhibit C
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 22 of 48




                            Exhibit C
       Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 23 of 48
                                                    U.S. Department of Justice
       Office of                                    Office of Information Policy
                                                    Suite 11050
                                                    1425 New York Avenue, NW
                                                    Washington, DC 20530-0001

Telephone: (202) 514-3642




Mr. Jermaine Bell
Register No. 33031-037
Federal Correctional Institution                    Re:         Appeal No. AP-2016-01253
Post Office Box 759                                             Request No. 2016-0095
Minersville, PA 17954                                           RRK:MTC

VIA: U.S. Mail

Dear Mr. Bell:

        You appealed from the action of the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) on your Freedom of Information Act request for access to records concerning
Torrence Johnson, Angelo Stringfellow, Kenyatta Harris, Damien Barralle, and certain "302
reports."

        After carefully considering your appeal, and as a result of discussions between ATF
personnel and this Office, I am remanding your request to ATF for a search for responsive
records concerning the named third parties. If ATF locates releasable records, it will send them
to you directly, subject to any applicable fees. You may appeal any future adverse determination
made by ATF. If you would like to inquire about the status of this remand, please contact ATF
directly.

       Additionally, to the extent that you are seeking certain "302 reports," you may wish to
make a new request directly to the FBI, which would be the component most likely to maintain
such records.

       If you are dissatisfied with my action on your appeal, the FOIA permits you to file a
lawsuit in federal district court in accordance with 5 U.S.C. § 552(a)(4)(B).

                                                    Sincerely,
                                                                                              5/9/2016



                                                        X
                                                        Sean R. O'Neill
                                                        Chief, Administrative Appeals Staff
                                                        Signed by: SEAN O'NEILL




                                            Exhibit D
       Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 24 of 48
                                                    U.S. Department of Justice
       Office of                                    Office of Information Policy
                                                    Suite 11050
                                                    1425 New York Avenue, NW
                                                    Washington, DC 20530-0001


Telephone: (202) 514-3642                           May 11, 2016

ADMINISTRATIVE APPEAL REMAND MEMORANDUM

TO:           Stephanie Boucher
              Chief, Disclosure Division

FROM:         Melanie Ann Pustay
              Director

              Sean R. O'Neill
              Chief, Administrative Appeals Staff

SUBJECT:      Instructions for Processing Administrative Appeal Following Remand

 Request No. 2016-0095             Requester's Name: Jermaine Bell
 Appeal No. AP-2016-01253          Subject of Request: Torrance Johnson, Angelo Stringfellow,
                                   Kenyatta Harris, and Damien Barralle


        The administrative appeal referenced above has been remanded by this Office to ATF for
further processing. At this time, please reopen this file and perform the following actions,
subject to any applicable fees:

       Because the requester has provided sufficient proof that the named individuals are
       deceased, please conduct a search for responsive records.

        The OIP attorney reviewing these administrative appeals coordinated this action through
Amanda Hoffmaster of the FOIA Section. If you have any further questions concerning this
action, please do not hesitate to contact Marilyn Cunningham at 202-514-5449.




                                           Exhibit E
       Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 25 of 48




                                                 U.S. Department of Justice

                                                 Bureau of Alcohol, Tobacco,
                                                 Firearms and Explosives




                                                 www.atf.gov


July 11, 2016                                                        REFER TO: 2016-0584

Mr. Jermaine Bell
Reg. No. 33031-037
FCI Schuylkill
Federal Correctional Institution
P.O. Box 759
Minersville, PA 17954-0759

Dear Mr. Bell:

This responds to your Freedom of Information Act request for information that the Bureau of
Alcohol, Tobacco, Firearms and Explosives (“ATF”) initially withheld because you did not
provide consent or proof of death for Mr. Torrence Johnson, Mr. Angelo Stringfellow, Mr.
Kenyatta Harris, and Mr. Damien Barralle. You appealed this withholding to the Office of
Information Policy (“OIP”) and provided proof of death for the named third parties. By letter
dated May 9, 2016, OIP remanded the case for a search for responsive records concerning the
named third parties. Your request has been assigned number 2016-0584. Please refer to this
number on any future correspondence.

Please be advised that a search has been conducted in the N-Force and TECS databases, which
contain information on ATF investigations. ATF did not generate an investigation on any of
these homicides. Based on the information you provided to us, we were not able to locate any
responsive records subject to the Freedom of Information Act.

For your information, Congress excluded three discrete categories of law enforcement and
national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c). This
response is limited to those records that are subject to the requirements of the FOIA. This is a
standard notification that is given to all our requesters and should not be taken as an indication
that excluded records do, or do not, exist.

You may contact our FOIA Public Liaison, Stephanie Boucher, at (202) 648-8740, for any
further assistance and to discuss any aspect of your request. Additionally, you may contact the
Office of Government Information Services (“OGIS”) at the National Archives and Records
Administration to inquire about the FOIA mediation services they offer. The contact information




                                             Exhibit F
       Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 26 of 48



                                              -2-

Mr. Jermaine Bell


for OGIS is as follows: Office of Government Information Services, National Archives and
Records Administration, Room 2510, 8601 Adelphi Road, College Park, Maryland 20740-6001,
e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at
202-741-5769.

If you are not satisfied with my response to this request, you may administratively appeal by
writing to the Director, Office of Information Policy (“OIP”), United States Department of
Justice, Suite 11050, 1425 New York Avenue, NW, Washington, DC 20530-0001, or you may
submit an appeal through OIP's FOIAonline portal by creating an account on the following web
site: https://foiaonline.regulations.gov/foia/action/public/home. Your appeal must be postmarked
or electronically transmitted within 90 days of the date of my response to your request. If you
submit your appeal by mail, both the letter and the envelope should be clearly marked “Freedom
of Information Act Appeal.”

                                           Sincerely,



                                    Stephanie M. Boucher
                                   Chief, Disclosure Division




                                           Exhibit F
         Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 27 of 48




                                                                  Jermaine Bell
                                                                  Reg.# 33031-037
                                                                  FCI Schuylkill
                                                                  P.O.Box 759
                                                                  Minersville,PA
                                                                  17954

                                                                  August 21, 2016
Stephanie Boucher
Chief, Disclosure Division
Room 1 E-400
99 New York Ave.
Washington, DC. 20226
                                 RE: 2016-0584


Dear Mrs Boucher,
     This letter is in response to a letter I received on July 11, 2016.
The letter stated, that a search has been conducted in the N-FORCE and
TECES databases, which contain information on all the (ATF) investigations,
and did not generate anything on the homicides that I requested.
     I find that hard to believe that the (ATF) databases couldn't locate
any of the files I requested. I've documents from the (ATF)Task-Force in-
vestigations that lead to my initial indictment in federal court, in which
I'm serving time for. Also, I've transcripts trom my motion hearing, that
support my case, an (ATF) investigation report case #761020-07-0027, and
finally an interview conducted by DET: Micheal Coleman OCD/ATF Task-Force.
Det: Coleman is a Baltimore City Police, for approximately the past 15
years he has been deputize as a federal law enforcement officer, and been
assigned to a Task-Force with the (ATF).




                                     Exhibit G
                 Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 28 of 48




                 I realize that your department is over worked and uder staff. All I'm
        asking can someone from department please point me in the direction, so I could
        retrieve the records that I'm seeking.
        Encloced are.
        1.An interview conducted my Det: Coleman
        2. My Motion Hearing, that   ou~   line what I'm looking for.
--·--
        3. An (ATF) investagtion report.
        4. Two Superseding reports.


                 Thank You For Your Time With Helping Me With 'Illis Matter •••




                                                       Sincerly Your
                                                       Jermaine Bell # 33031-037




                                                  Exhibit G
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 29 of 48




                            Exhibit G
      Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 30 of 48
..

      1   and throughout the reply, the defense refers to a federal task

     2    force investigation, that concept of a federal task force

     3    investigation. And actually, Your Hono·r, and that implies that

     4    there's a single, unified investigation.
     5                  THE COURT:          Right.

     6                  ivTR-:-vVEt.SH:    it doesn't arg-ue-tl1at as impliad.- 1-just
     7    want ta clarify that there are actually three separat.e ta~k force

     8    investigations that impact upon this prosecution. The first is

     9    one we've been talking about and that's the F.B.l.'s R & G

     1O   investigation that led to the, two defendants that Judge Nickerson

     11   had a couple of years ago, Thompson and Williams and that was an

     12   F.B.I. Task Force investigation that involved some Baltimore

     13   Police Department Task Force officers and F.B.I. agents. And the

     14   second task force investigation impacted by the prosecution is

     15   the D.E.A. Redrum group's investigation into some of the

     16   shootings that are involved between Bell and the Garrett

     17   organization. Between the Bell organization and the; Garrett

     18   organization. Now that involved D.E.A. special agents and

     19   different Baltimore Police Department officers who were task

     20   force officers including some homicide detectives and including

     21   at some point in•time Detective Joe Dugan that was mentioned ..

     22   Mr. Dugan testified as the Court knows from the submission by

     23   Mr.   Goldstei~ at the state murder trial of Samuel Garrett for the
     24   killings of Harrison and Manns on November 2nd of 2001. Your

     25   Honor, during the transition of certain files from the homicide

                                                                                         32

                                          Exhibit G                                           ~·
          Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 31 of 48




         1     office to the Redrum and/or back again, the homicide files for

         2     Kenyatta Harris killing was misplaced.

         3                  THE COURT:        All right. We'll address that in a mome·nt.

         4     I want .to stay focused just on --

         5                  MR. WELSH:       Right.

· - - - -k      - - - -+l=IE GQl.JR.+-: - ---!P.e first of-the three-toplcs-oA-Brady
         7     in terms of just the non-presenc~ of .Mr. Bell and essentially the

         8     negative involvement or what Mr. Goldstein refers to as negative

         9     evidence.

       , 10                 MR. WELSH:       Getting --    •

        11                  THE COURT:        We'll deal with Kenyatta Harris in a

        12     moment.

        13
        14
                            THE COURT:        All right.
        16                  MR. WELSH:

        17
        18
        19                                          This investigation began with the

        20     Tyree Stewart marijuana organization which was a cas"e that Judge

        21     . Blake heard and then this investigation spun out of information

        22     that we got from Tyree Stewart and Corey Smith, two of the

        23     defendants in that case, who provided information about a whole

        24     series of homicides including ones involving Mr. Bell and also

        25 ·   homicides involving the infa·mous So lethal Thomas also known as


                                                                                        33

                                            Exhibit G
               Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 32 of 48
~~/2"006   15: 31 FAX 410 962 07.                  U S ATTORNEY'S OFFICE                                  @00:3

                      ,. . .



                                            POLICE DEPARTMENI.
                                           BALTIM:ORE, .MAR~


                                                                                   27 September, 2006
                ...                   ·--------·---------------··-·--
        TO:              Major John Hess

       FROM:             Detective :Michael Coleman
                         OCD/ATF Task For~-

       SUBJECT:



              On 27 September 2006 at apPr.oxirnately 14:00-l 7:00b:rs. Detecti-ve M. Coleman

       and Homicide Detective Ronald Berger conducte.d a interview with Wtlliam.peShields.

                                             ..
       1-Ar. DeShldds °9:'-a.5 advised of bis rights   ~d   elected to waive bis righ±s before the

       inreniew s-"1.arted.. ~-ing the iritervie~ :MI. De$hields. w-as ad-vised that he js being charge

      with the murder of Aµgelo String:t:ellow: 1'1.!r. DeShields stated that he did not l<lll Angelo.

      During the fa1terview     Mr: DeS~eld was asked who ·is r~onsib1e for killing Strfu.g:fellow. ·
      He replied, ': man you going to get :me killed", and then stated Jenname. burfilg this time



      DeShields advised Dl:t. Coleman of the following.
                                             ·:




      ''Bo", who is someone that lY.fr. DeShield.? sold drugs for. Jermaine op~d ad.rug

      organization in the area of Gyn.ns Falls and Liberty Heights. Jermaine and "Bo"' got into

      an argum.ent because "Bo" wa:s .se~~ drugs in Jermairi.e area and J<?IIDaine wanted some .




                                                        Exhibit G
                                 Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 33 of 48

                      u06 15: 31 FAX 410 962 07.                     li S A'ITORNEY' S OFFICE                             @00 4

            --
__,,--------- '
                  I




                         !Jf the money from ~Bd' drug sal~s. A war began between the two an? one of Jermaine
~--.


                         workors was shot and killed by '~o".
                                                                                     .·

                               Mr. DoShfold.s stated that Jennaine had .Atigelo Stri11gfe1low Icilled. Corey Smith



                        Qub Burms but did.not kill Angelo.



                            I'r:::l in jail with Johnny-Cool aka Jorathan M.alone and Corey Smith w7ote hfrn a
                                           .            .            .   ;                .           .
                        letter asking Johr:my tu find someone to get rid ofhls wife beoau.se he don't want to· give

                        Jermaine the satisfaction ofkilling bis vrifo. l\tfr. DeShlelds advised me that JobniJ.y-Coo1

                       showed him the let"~ and th.at he.read the lette:r himself. The int~c::w ended s.t this time . .




                                                            ..   ~




                                                                             Exhibit G
                                            Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 34 of 48
 U.S .   o~·partmerit      of Justire                             Reportofln~ ,tigation
 Bureau of Alcohol, Tobacco, Firearms and Explosives


 Title or lnvestlgalion:                                                                                      Report Number:
 Jermaine A Bell et al                                                                                                    I


    .           .
SUMMMARY OF EVENT:
                                                                                         •   M*MMMWMMJiJll&&l.Q&
T~s affiliated ~th Operation Arizona/marijuana organization of · :·
                                                               ;· · ·. : · ·'. .· :. -r.'', (ATF Case·
~. which linked Jermaine BELL and associates as being responsible for numerous acts .of
viofonce throughout Baltimore City, Maryland.


NARRATIVE:

    1. On or about February 2001; Baltimore City Police Department (BPD) Task Force Officer (TFO) Detective
         '     .!       - ' requested assi_stance with ~e investigati01~ of Jermaine BELL, B/M,_DOB 2/11/1974. · BELL
                                t   'P,



        has.- been fedenrlly indicted with conspiracy to possess narcotics in a crime of violence which cause the dei:.th of ·
       'Terrance Johnson on or about November 8, 2001. ·
                                                                                                                                  t..'1:-•
    2.


                                                                       .-r   The aforementioned· names are federally' charged
          with conspiracy to distribute hernin; conspiracy to possess a: firearm fu furtherance of a· drug trafficldng crime; ·
          possession of a firearm in furtherance of a .drug trafficldng crime resulting in death; ·possession of a firearm in
          furtherance of a drug trafficking crime; possessing ammunition by· comricted felon and. willfuliy causing an
          offense.                                                                                       ·

    3. The investigation is continuing.




                                                                                Exhibit G
                              Case 1:17-cv-01221-TJK
                        DEJ<ENDANT                    Document
                                   INFOR.l\'IATV "RELATIVE        13-3 Filed
                                                           TO ,A CRIMINAL    07/31/18 U.S.
                                                                           ACTION·     Page  35 of 48COURT
                                                                                           DISTRICT
                       Complaint                   Information                Indict men!      Name of District Court, (City)
    By                                                                 x
                                                                                                            Baltimore, Maryland
                                                             Second Superseding                             Northern Division

    Offense Charged

    Conspiracy to Distribute H·eroin                                       Petty             II Defendant - U.S. vs.
    Conspiracy to Possess a Firearm in
    Furtherance of a Drug Trafficking Crime
                                                                           l\'lisdemeanor                      Jermaine Bell
                                                                                                                                          ..·' ....
    Possession of Firearm in Furtherance of a
    Drug Trafficking Crime Resulting in Death
    Possession of Firearm in Furtherance of. a
    Drug trafficking Crime
                                                                   x       Felony             Address:

~   Possession of Ammunition By A
iLCon.11.ictecLEelo11-- - - - c
                              . -------,---------                                             Birth date:         LI Ill J ':J7_::i _ _               Male/I:· emalc                    JV\     Alien
j \Villfully Causing an Offense                                                               *                                                                                                 (YIN):


I   Pim of offmo                                            U.S.C. Citation                   * (Optional unless     a juvenile)


I
l
    Baltimore City                                          21 USC §846
                                                            18 USC §92-l(o)
                                                                                                                                                                                              : '   I   j   "•



l                                                           18 USC §924(j)
I;                                                          18 USC §924(c)
                                                            18 USC §922(g)
L                                                           18USC§2                                                                                     ·~   • • --V"'
                                                                                                                                                                         t .,. - .- ,


                                                                                                                                                                                              ,·
                                      Proceeding                                                                  Defendant

    Name of Complainant Agency, Person (&Title, if any) & Phone#                                   IS NOT IN CUSTODY

          Mike Coleman -Baltimore City Police (443) 250-5663                                  l)         Has not been arrested, pending outcome of this proceeding.
                                                                                                         If not det.iined ghoe date any prior summons was served on
                                                                                                         abo'e charges.       t




J     Person is awaiting trial in another Federal or State
      Court, give name of court:                     '
                                                                                              2)


                                                                                              J)
                                                                                                         Is a fugith·e

                                                                                                         ls on bail or release from (show District)

J     This personlproceeding is tronsrerred from another district per:


J      FRCrP 20          D D        21                 40         Show District                    IS IN CUSTODY

                                                                                              4)         On this charge


JD     I his   is. reprosecucion   or chJrges pre>'iously
       dismissed '"hich were dismissed on motion of:

                    L!.S. Attorn'ey       D         Defense
                                                            ...                               5)

                                                                                              6)
                                                                                                         On another conviction


                                                                                                         Awaitin'g trial on other charges
                                                                                                                                                                                          Federal                x   State


-
       this prosecution relates to a pending case                          41°'              If the answer to (6) is "Yes",
       involving this same defendant                                                         show !'Jame of institution
-
       prior proceeding or appearances before U.S.   .                 Magistrate#           Has detainer been filed? YIN                                                     Date filed
       Magistrate Judge regarding this defendant were
       r,ecorded under   •
                                                                                             Dale of Federal arrest      •                                                                          OR

                                                                                                     Check if plea is expected.

    Name of Asst. U.S. Att'y                    Gregory Welsh                                        This report amends AO 257 previousl.Y submitted
                                                Jason Weinstein

    Phone Number:                               410 209-4906/4859                            FOR USE OF THE CLERK'S OFFICE

       Additional Information or comments:

    Maximum Penalty:                     see attached
                                                                                            Exhibit G
                                   CaseL1'1'Vr.Jll"
                                         1:17-cv-01221-TJK
                    ......... , _. , •H•I' 1        fU
                                                                    Document 13-3 Filed 07/31/18 Page 36 of 48
                                                       . J I ' r. I v . ' \ \. IUJ\'111~ I'\ L !\ L 11 Ul'o - J"' l .:::.. UIS J p -- ,. co URT
                                                               J ""'"



 By:        C'omplaiur                     luformalion         X              lu\.JICllllCll(             Name of Ui~t1 ict Conn, (City)
                                                                                                                     Bahimur~ . Ma11·land
                                                                                                                     Northern D1v1smn
                                                                               Superseding
 Offense   Char~cd


 Conspiracy lo possess firearm in                                                   l'ctty                Defendant - U.S. vs.
                                                                                                                                                                    ' ) \I \
                                                                                                                                                                ~'.1 /
                                                                                                                                                                J'¢_,.
                                                                                                                                                                                /•




                                                                                                                                                                         YI ..--' U/ ./ i//
                                                                                                                                                                            1.:, \
                                                                                                                                                                                               //
                                                                                                                                                                                           J; _,,
                                                                                                                                                                                                              c ;'
                                                                                                                                                                                                              ,/   1
                                                                                                                                                                                                                         • .....    - - ' / ,.
                                                                                                                                                                                                                                         :_/
                                                                                                                                                                                                                                                 ,·y /7,.<l
                                                                                                                                                                                                                                                 /
                                                                                                                                                                                                                                                     {
                                                                                                                                                                                                                                                         ./~       ,.,..?
                                                                                                                                                                                                                                                                   I
 furtherance of drug-trafficking crime                                                                                                                          Y"---i;)f / .._....     !'--
                                                                                                                                                                                      /.~. ~                            '-"'
                                                                                                                                                                                                                                                               I

 and crime of violence                                                              {\lisdcmcanor         t         Jermaine Bell

                                                                         )(         Felony                Address:

                                                                                                          Birtl.1 date:           2111175                   l\lale/Femalc                                     M                Alien                 N
                                                                                                          *                                                                                                                    (YIN)
                                                                                                                                                                         ----.Jl....         !.f.._Q_ _....JENTI]=
                                                                                                                                                                                                                ·=E-.0_ __
                                                                                                                                                                         ----...,_ ·--·-· J ~r.r;            ocri:l'.'&'fJ
Place of offense                                               U.S.C. Citation                            * (Optional        unless a juv~uile)

Baltimore City:                                                18 U-S.C-§ 924(0_                                                                                                           MAY 1 0 2006
                                     Proceeding                                                                                   Defendant

Name of Complainanl Agency, Person (&Title, if any) & Phone#                                                       IS NOT IN CUSl ODY

                                                                                                          1)          x   llas nol been arrested, pending outcome of lhis proceeding.
                                                                                                                          Hnot dewined give date any prior summons wa~ served on
                                                                                                                          above charges.     t


   Person is awaiting trial in another Federal or State                                                   2)              Is a fugitive
   Court, give name of court:
                                                                                                          J)              ls on bail ur release from (show               Di.~lricl )


  Tim. pt:r~un/procccc.Jrni! l:. tr:.111~1.:.rred frotu u11011lcr Uistricr p.:r ·


   Fl{Crl' 20                                  D          40          Show District                            JS JN CUSTOUY

                                                                                                          4)              On this charge

    thi> i> " rcprosceution of charges pre• iou•I} .0.                                                    5)              Un another con\•icliou                                                              Federal                                      State
    dismis:1cll which were dismissed un motion of:

       D        U.S. Alloruey              D            Defense                                           6)              Awaiting trial on other charges

    this prosecutio.n relates to a pending case                                     "'1'                  If the answer to (6) is "Yes",
    involving this same defendant                                                                         show name of institution

    prior proceeding or ap11earances berore U.S.                              1\1 agi.~trale #            Has detainer been filed'! YIN                                                             Date filcll
    Magistrate Judge regarding this ddcndanl were
    recorded under    •
                                                                                                          Dale uf Federal arrcsl                                                                                               OR

                                                                                                                     Check if plea is expected.
                                                                                                                              .
Name or Asst.' U.S. Att'y                            Greg Welsh/Jason w.einstein                 :dhJ                This repo1-t amends AO 257 previously submitted

Phone Number:                                        410-209-4906/4859                                   FOR         U~E    OF THE CLERK'S OFFICE
                                                                                                               •
    Additional Information or comments:                                                                                                -,°'·· ...       .
                                                                                                                                    Iii"' 0 .:iy 2flesJ •no ~fiii)' enL l ',,·w                           1
                                                                                                                                                                                                             1         11 i
                                                                                                                                                                                                                       .;l)
                                                                                                                                                                                                                                         ?
                                                                                                                                                                                                                                fi /, [.,"
                                                                                                                                                                                                                                                 1
                                                                                                                                   that. tre foregoi~g. d~J!:'':·,; ; 1 ·~ 11 • --tfi1e nd '      ·
Maximum Penalty:                         Ct. 2: 20 yrs. impr., 3 yrs. SIR,                                                         copy ol the on.=rr:::! ; .: . /11 - '·lfit~ft a, corred
                                                                                                                                   ilgcil r.Wody     -             " v         ·1 . ..... and in my
                                         $250,000 fine
                                                                                                                                                       fEL' ·~ '-'" .. _.- .,v..i)·'.J
                                                                                                                                               CLERK. U S [)1:-; ~:n, T.COURT
Date of offense:                         Oct. 200 I -- Nov. 2005                                                                                   DISTRICT 0{: M.:.<fi?,¥!..AND
                                                                                                                                                                                           flj;          I
~ength     of Trial:                     2-3 weeks                                                                                                  · , .,,~. •    J.1 • ~..:.--;r ,_,,U.''.                                       ,..
                                                                                                                                                    '    (/ .1 J1 ;·f    f '\..IL_... •
HIDTA CASE:                                    Yes                                     No               OCDETF CASE:




                                                                                                        Exhibit G
                                        Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 37 of 48                                                    1
                                                                                                                                                        ,.
                                                              ~,
F~ral  Correctional Institution Schuylkill       ~.,:....          '
P.O. Box 759                                           _,.
Minersville, PA 17954-0759
                                                        \~ t9 ~                    )("".tV\YED
Mfiiled from                                             ~~~ ~
                                                             -~   (11              AUG 2 9 2016
Federal Correctional Institution
Schuylkill, PA
                                                              ~         DOJAfAILRo                                                          z,1
                                                                                                                                                  ~-~

                                                                                                                            ..\'~~
                                                                                                                           4a               7)
----                                                                                                            a
                                                                                                                    v.J
                                                                                                                             'G 2tJ eo1q
                                                                                                                          "~Fl" ....
                                                                                                                             ~On-~

                                                                        I   1, 11,,,,, ,,, hI~ I 11h1T'l1·I' JIII11J1I•I1'··I'1 •··'I··", .111
                                                                                                           1                    1




                                                                        Exhibit G
       Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 38 of 48



                                                   U.S. Department of Justice

                                                   Bureau of Alcohol, Tobacco,
                                                   Firearms and Explosives




                                                   www.atf.gov


October 24, 2016                                                     REFER TO: 2016-0976

Mr. Jermaine Bell
Reg. No. 33031-037
Federal Correctional Institution - Schuylkill
PO Box 759
Minersville, PA 17954-0759

Dear Mr. Bell.:

This responds to your Freedom of Information Act (“FOIA”) request dated August 21, 2016, and
received by the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) on August 31,
2016, in which you requested records concerning self. Your request has been assigned number
2016-0976. Please refer to this number on any future correspondence.

At this time, the investigation relating to a homicide is still open. Therefore, your request is
denied pursuant to 5 U.S.C. § 552(b)(7)(A) because it concerns an ongoing investigation.
Exemption (b)(7)(A) authorizes us to withhold investigatory records or information compiled for
law enforcement purposes, the release of which could reasonably be expected to interfere with
enforcement proceedings.

For your information, Congress excluded three discrete categories of law enforcement and
national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c). This
response is limited to those records that are subject to the requirements of the FOIA. This is a
standard notification that is given to all our requesters and should not be taken as an indication
that excluded records do, or do not, exist.

You may contact our FOIA Public Liaisons, Darryl Webb or Johnny Rosner, at (202) 648-7390,
for any further assistance and to discuss any aspect of your request. Additionally, you may
contact the Office of Government Information Services (“OGIS”) at the National Archives and
Records Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Information Services, National
Archives and Records Administration, Room 2510, 8601 Adelphi Road, College Park,
Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-
684-6448; or facsimile at 202-741-5769.




                                                Exhibit H
       Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 39 of 48
                                              -2-

Mr. Jermaine Bell


If you are not satisfied with my response to this request, you may administratively appeal by
writing to the Director, Office of Information Policy (“OIP”), United States Department of
Justice, Suite 11050, 1425 New York Avenue, NW, Washington, DC 20530-0001, or you may
submit an appeal through OIP's FOIAonline portal by creating an account on the following web
site: https://foiaonline.regulations.gov/foia/action/public/home. Your appeal must be postmarked
or electronically transmitted within 90 days of the date of my response to your request. If you
submit your appeal by mail, both the letter and the envelope should be clearly marked “Freedom
of Information Act Appeal.”



                                           Sincerely,



                                   Stephanie M. Boucher
                                  Chief, Disclosure Division




                                           Exhibit H
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 40 of 48




                             Exhibit I
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 41 of 48




                             Exhibit I
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 42 of 48




                             Exhibit I
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 43 of 48




                             Exhibit I
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 44 of 48




                             Exhibit I
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 45 of 48




                             Exhibit I
Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 46 of 48




                             Exhibit I
       Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 47 of 48
                                                     U.S. Department of Justice
       Office of                                     Office of Information Policy
                                                     Suite 11050
                                                     1425 New York Avenue, NW
                                                     Washington, DC 20530-0001

Telephone: (202) 514-3642

                                                     January 30, 2017

 Mr. Jermaine Bell
 Register No. 33031-037
 Federal Correctional Institution                        Re:   Appeal No. DOJ-AP-2017-001282
 Post Office Box 759                                           Request No. 2016-0976
 Minersville, PA 17954                                         CDT:MTC

VIA: U.S. Mail

Dear Mr. Bell:

       You appealed from the action of the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) on your Freedom of Information Act request for access to records concerning
yourself.

        After carefully considering your appeal, I am affirming ATF's action on your request. In
order to provide you with the greatest possible access to responsive records, your request was
reviewed under both the Privacy Act of 1974 and the FOIA. I have determined that the records
responsive to your request are exempt from the access provision of the Privacy Act. See
5 U.S.C. § 552a(j)(2); see also 28 C.F.R. § 16.106 (2016). For this reason, I have reviewed your
appeal under the FOIA.

         The FOIA provides for disclosure of many agency records. At the same time, Congress
included in the FOIA nine exemptions from disclosure that provide protection for important
interests such as personal privacy, privileged communications, and certain law enforcement
activities. ATF properly withheld this information in full because it is protected from disclosure
under the FOIA pursuant to 5 U.S.C. § 552(b)(7)(A) and it is reasonably foreseeable that
disclosure of this information would harm the interests protected by this provision. This
provision concerns records or information compiled for law enforcement purposes the release of
which could reasonably be expected to interfere with enforcement proceedings.

       Please be advised that this Office's decision was made only after a full review of this
matter. Your appeal was assigned to an attorney with this Office who thoroughly reviewed and
analyzed your appeal, your underlying request, and the action of ATF in response to your
request. If you have any questions regarding the action this Office has taken on your appeal, you
may contact this Office's FOIA Public Liaison for your appeal. Specifically, you may speak with
the undersigned agency official by calling (202) 514-3642.




                                             Exhibit J
       Case 1:17-cv-01221-TJK Document 13-3 Filed 07/31/18 Page 48 of 48



                                              -2-

       If you are dissatisfied with my action on your appeal, the FOIA permits you to file a
lawsuit in federal district court in accordance with 5 U.S.C. § 552(a)(4)(B).

         For your information, the Office of Government Information Services (OGIS) offers
mediation services to resolve disputes between FOIA requesters and Federal agencies as a non-
exclusive alternative to litigation. Using OGIS services does not affect your right to pursue
litigation. The contact information for OGIS is as follows: Office of Government Information
Services, National Archives and Records Administration, Room 2510, 8601 Adelphi Road,
College Park, Maryland 20740-6001; e-mail at ogis@nara.gov; telephone at 202-741-5770; toll
free at 1-877-684-6448; or facsimile at 202-741-5769.

                                                    Sincerely,
                                                                                      Digitally signed by ctroiani


                                                            ctroiani                  DN: cn=ctroiani,
                                                                                      email=Christina.Troiani@usdoj.go
                                                                                      v, o=USDOJ

                                                        X                             Date: 2017.01.30 09:40:38 -05'00'



                                                        Christina D. Troiani, Associate Chief, for
                                                        Sean O'Neill, Chief, Administrative Appeals Staff




                                            Exhibit J
